UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

IN RE: FEMA TRAILER
FORMALDEHYDE PRODUCTS
LIABILITY LITIGATION

THIS DOCUMENT PERTAINS TO
Civil Action No. 09-7840

Belinda Bauer, et. al.

Vs.

Liberty Homes Inc., et al.

MDL NO. 1873
SECTION “N” (5)

JUDGE ENGELHARDT
MAGISTRATE CHASEZ

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SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ AMENDED COMPLAINT
PURSUANT TO PRETRIAL ORDER NO. 53

In compliance with Pretrial Order 53 (Rec. Doc. 9073), Plaintiffs hereby file their
Supplemental Exhibit “A” to their Amended Complaint to match the Plaintiffs to their correct
Contractor/Installer Defendants.

In addition to the information previously submitted on Exhibit “A”, Plaintiffs attach
hereto a Supplemental Exhibit “A” and incorporate same by reference herein.

Respectfully submitted,

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Exhibit A

Brandy Jones, as Next Friend of E.S,a minor
(216905)

Carrie Jimerson (211248)

1343

Elizabeth Jones (216631)

Kenny Jones (216632)

